                                                                  SO ORDERED.


                                                                   Dated: June 15, 2016



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                                                                  Eddward P. Ballinger Jr., Bankruptcy Judge
    3                                                             _________________________________


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    6                           UNITED STATES BANKRUPTCY COURT
    7                               FOR THE DISTRICT OF ARIZONA
    8 In re:                                       Chapter 11
    9 FRONTIER STAR, LLC,                         Case No. 2:15-bk-09383-EPB
      FRONTIER STAR CJ, LLC,                      Case No. 2:15-bk-09385-EPB
   10                                              (Jointly Administered)
                              Debtors.
   11                                              ORDER AUTHORIZING THE
      This filing applies to:                      ASSUMPTION AND ASSIGNMENT
   12                                              OF LEASE
                      All Debtors
   13                 Specified Debtors           (1220 N. 75th Avenue [75th & Cactus], Peoria, AZ)
   14

   15          This matter came before the Court pursuant to the Chapter 11 Trustee's Fifth Omnibus

   16 Motion for Authority to Assume and Assign Certain Leases of the Debtors [Dkt#973] ("Lease

   17 Motion") and pursuant to this Court's Order Authorizing and Approving the Sale of

   18 Substantially All of Debtors' Assets Free and Clear of Liens, Claims, Encumbrances, and

   19 Interests and the Assumption and Assignment of Certain Executory Contracts and Unexpired

   20 Leases in Connection Therewith, and Granting Related Relief [Dkt#888] ("Sale Order"). No

   21 objections to the Lease Motion have been filed. This Order has been approved by LDR-Cactus,

   22 LLC (“Landlord”), and by Starcorp, LLC (“Buyer”) which was granted certain lease

   23 designation rights pursuant to the Sale Order.

   24          The Court has considered the entire record in this matter, and based on the entire record

   25 before the Court, the Court hereby finds as follows:

   26          1.     The findings and conclusions set forth herein (and any findings and conclusions

   27 stated by the Court at any hearing regarding the Sale Order) constitute the Court's findings of

   28 fact and conclusions of law pursuant to Rule 7052 of the Federal Rules of Bankruptcy

Case 2:15-bk-09383-EPB       Doc 1019 Filed 06/15/16 Entered 06/15/16 14:48:41                Desc
                               Main Document      1 1 of 4
                                                Page
    1 Procedure (the "Bankruptcy Rules"), made applicable to this proceeding pursuant to

    2 Bankruptcy Rule 9014.

    3         2.       To the extent that any of the findings of fact constitute conclusions of law, they
    4 are adopted as such.

    5         3.       On November 18, 2015, this Court appointed P. Gregg Curry ("Trustee") as the
    6 Chapter 11 Trustee for these bankruptcy cases and estates.

    7         4.       Pursuant to the Sale Order and the Lease Motion, the Buyer has designated the
    8 following lease inter alia for assumption and assignment:

    9                  •   Peoria Marketplace Ground Lease dated as of October 19, 2001 (as
   10                      amended, modified, and supplemented) for the lease by Landlord to MJKL
   11                      Enterprises, LLC (“MJKL”) of the premises located at 12110 N. 75th Ave.
   12                      in Peoria, Arizona (the “Lease”) and which was assigned by MJKL to
   13                      Frontier Star CJ, LLC.
   14         5.       Notice of the relief requested by the Lease Motion was duly served on creditors
   15 and interested parties, which the Court finds to be sufficient notice in the particular

   16 circumstances.

   17         ACCORDINGLY, IT IS HEREBY ORDERED AS FOLLOWS:

   18         6.       The Lease Motion is granted as it pertains to the Lease as provided in this Order.

   19         7.       The Trustee is hereby authorized to assume the Lease and to assign the Lease to

   20 Starcorp CJ, LLC, a Delaware limited liability company ("Lease Assignee"), which has been

   21 designated by the Buyer to be the assignee of the Lease.

   22         8.       Within 15 days of the entry of this Order, Landlord shall be paid the following

   23 amounts as the required cure amounts and compensation for pecuniary loss pursuant to

   24 11 U.S.C. § 365(b)(1), which represents the accrued and unpaid amounts due to Landlord under

   25 the Lease as of May 31, 2016 ("Cure Amounts"):

   26                  •   The Trustee shall pay the sum of $11,110.59; and

   27                  •   Lease Assignee shall pay the sum of $3,339.23.

   28         9.       The Debtors, their respective bankruptcy estates, and the Trustee shall be, and

Case 2:15-bk-09383-EPB       Doc 1019 Filed 06/15/16 Entered 06/15/16 14:48:41                 Desc
                               Main Document      2 2 of 4
                                                Page
    1 hereby are, relieved from liability for any breach of any of the Lease occurring on or after

    2 May 31, 2016, pursuant to 11 U.S.C. § 365(k).

    3          10.    The Buyer and Lease Assignee have provided adequate assurance of future
    4 performance for the Leases within the meaning of 11 U.S.C. §§ 365(b)(1)(C), 365(b)(3), and

    5 365(f)(2)(B).

    6          11.    The Lease Assignee shall be deemed to be substituted as the Lessee under the
    7 Lease effective as of June 1, 2016.

    8          12.    The Lease Assignee shall operate a Carl's Jr. restaurant on the premises that is
    9 the subject of the Lease and shall comply with the restrictions on use, radius, location, and/or

   10 exclusivity that are contained in the Lease.

   11          13.    Notwithstanding anything to the contrary in this Order, the Lease Assignee shall
   12 have both the benefits and the burdens under the Lease, including those burdens which have

   13 accrued as of June 1, 2016, but are not yet due under the terms of the Lease (and thus are not

   14 yet payable as part of the Cure Amounts pursuant to 11 U.S.C. § 365(b)(1)(A)), including, but

   15 not limited to: (a) any adjustments or reconciliations (including any year-end adjustments or

   16 reconciliations) in respect of common area maintenance, insurance, taxes, and other charges

   17 and expenses that become due under the Lease; (b) any and all property taxes due and payable

   18 under the Lease; and (c) any indemnification obligations that become due under the Lease.

   19          14.    Except to the extent otherwise set forth herein, all provisions of the Sale Order
   20 regarding the assumption and assignment of Lease shall apply as though fully set forth herein

   21 and as though the Lease was an Assigned Contracts as that term is used in the Sale Order.

   22          15.    Notwithstanding the stay provisions of Bankruptcy Rule 6006(d), this Order
   23 shall be effective and enforceable immediately upon its entry and its provisions shall be self-

   24 executing.

   25          DATED AND SIGNED ABOVE.
   26

   27 APPROVED:

   28

Case 2:15-bk-09383-EPB       Doc 1019 Filed 06/15/16 Entered 06/15/16 14:48:41               Desc
                               Main Document      3 3 of 4
                                                Page
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Case 2:15-bk-09383-EPB     Doc 1019 Filed 06/15/16 Entered 06/15/16 14:48:41   Desc
                             Main Document      4 4 of 4
                                              Page
